Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 1 of 37 PageID #: 328




          EXHIBIT D TO SPITZER
             DECLARATION
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 2 of 37 PageID #: 329




                                          EXHIBIT D

             MACHINE GUN AND SEMI-AUTOMATIC FIREARMS LAWS1

     CALIFORNIA;

      1927 Cal. Stat. 938, An Act to Prohibit the Possession of Machine Rifles, Machine
     Guns and Submachine Guns Capable of Automatically and Continuously
     Discharging Loaded Ammunition of any Caliber in which the Ammunition is Fed
     to Such Guns from or by Means of Clips, Disks, Drums, Belts or other Seperable
     Mechanical Device, and Providing a Penalty for Violation Thereof, ch. 552,
     §§ 1-2.
     § 1... . [E] very person, firm or corporation, who within the State of California
     possesses any firearm of the kind commonly known as a machine gun shall be
     guilty of a public offense and upon conviction thereof shall be punished by
     imprisonment in the state prison not to exceed three years or by a fine not to
     exceed five thousand dollars or by both such fine and imprisonment. Provided,
     however that nothing in this act shall prohibit police departments and members
     thereof, sheriffs, and city marshals or the military or naval forces of this state or of
     the United States from possessing such firearms for official use in the discharge of
     their duties.
     § 2. The term machine gun as used in this act shall be construed to apply to and
     include all firearms known as machine rifles, machine guns or submachine guns
     capable of discharging automatically and continuously loaded ammunition of any
     caliber in which the ammunition is fed to such gun from or by means of clips,
     disks, drums, belts or other separable mechanical device.

     1933 Cal. Stat. 1169
     § 2. [EJvery person, firm or corporation, who within the State of California sells,
     offers for sale, possesses or knowingly transports any firearms of the kind
     commonly known as a machine gun ... is guilty of a public offense...
      § 3. The term machine gun as used in this act shall be construed to apply to and
     include all firearms known as machine rifles, machine guns, or submachine guns
     capable of discharging automatically and continuously loaded ammunition of any
     caliber in which the ammunition is fed to such gun from or by means of clips,
     discs, drums, belts or other separable mechanical device and all firearms which are
     automatically fed after each discharge from or by means of clips, discs, drums,


     1 Further research may yield additional laws regulating firearm hardware.

                                                1
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 3 of 37 PageID #: 330




     belts or other separable mechanical device having a capacity greater than ten
     cartridges.

    1933 Cal. Stat. 1169
    § 2. [E]very person, firm or corporation, who within the State of California sells,
    offers for sale, possesses or knowingly transports any firearms of the kind
    commonly known as a machine gun ... is guilty of a public offense...
    § 3. The term machine gun as used in this act shall be construed to apply to and
    include all firearms known as machine rifles, machine guns, or submachine guns
    capable of discharging automatically and continuously loaded ammunition of any
    caliber in which the ammunition is fed to such gun from or by means of clips,
    discs, drums, belts or other separable mechanical device and all firearms which are
    automatically fed after each discharge from or by means of clips, discs, drums,
    belts or other separable mechanical device having a capacity greater than ten
    cartridges.

    DELAWARE:

    1931 Del. Laws 813, An Act Making it Unlawful for any Person or Persons Other
    than the State Military Forces or Duly Authorized Police Departments to have a
    Machine Gun in his or their Possession, and Prescribing a Penalty for Same, ch.
    249, §1.
    On and after the passage and approval of this Act it is and shall be unlawful for any
    person or persons other than the State Military Forces or duly authorized Police
    Departments to have a machine gun in his or their possession, within the State of
    Delaware. Any person or persons convicted under the provisions of this Act shall
    be deemed guilty of a felony and shall be punished by either fine or imprisonment,
    or both, in the discretion of the Court....

    DISTRICT OF COLUMBIA:

    District of Columbia 1932:
    1932, Public-No. 275-72D Congress
    CHAPTER 465
    H.R. 8754
    AN ACT To Control the possession, sale, transfer, and use of pistols and other
    dangerous weapons in the District of Columbia, to provide penalties to prescribe
    rules of evidence, and for other purposes.
    DEFINITIONS


                                              2
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 4 of 37 PageID #: 331




    SECTION 1. “Pistol,” as used in this Act, means any firearm with a barrel less
    than twelve inches in length. “Sawed-off shotgun” as used in this Act, means any
    shotgun with a barrel less than twenty inches in length. “Machine gun,” as used in
    this Act, means any firearm which shoots automatically or semiautomatically more
    than twelve shots without reloading....
    SEC. 2. If any person shall commit a crime of violence in the District of Columbia
    when armed with or having readily available any pistol or other firearm, he may, in
    addition to the punishment provided for the crime, be punished by imprisonment
    for a term of not more than five years; upon a second conviction for a crime of
    violence so committed he may, in addition to the punishment provided for the
    crime, be punished by imprisonment for a term of not more than ten years; upon a
    third conviction for a crime of violence so committed he may, in addition to the
    punishment provided for the crime, be punished by imprisonment for a term of not
    more than fifteen years; upon a fourth or subsequent conviction for a crime of
    violence so committed he may, in addition to the punishment provided for the
    crime, be punished by imprisonment for an additional period of not more than
    thirty years.
    PERSONS FORBIDDEN TO POSSESS CERTAIN FIREARMS
    SEC. 3. No person who has been convicted in the District of Columbia or
    elsewhere of a crime of violence shall own or have in his possession a pistol,
    within the District of Columbia.
    CARRYING CONCEALED WEAPONS
    SEC. 4. No person shall within the District of Columbia carry concealed on or
    about his person, except in his dwelling house or place of business or on other land
    possessed by him, a pistol, without a license therefor issued as hereinafter
    provided, or any deadly or dangerous weapon.
    EXCEPTIONS
    SEC. 5. The provisions of the preceding section shall not apply to marshals,
    sheriffs, prison or jail wardens, or their deputies, policemen or other duly
    appointed law -enforcement officers, or to members of the Army, Navy, or Marine
    Corps of the United States or of the National Guard or Organized Reserves when
    on duty, or to the regularly enrolled members of any organization duly authorized
    to purchase or receive such weapons from the United States, provided such
    members are at or are going to or from their places of assembly or target practice,
    or to officers or employees of the United States duly authorized to carry a
    concealed pistol, or to any person engaged in the business of manufacturing,
    repairing, or dealing in firearms, or the agent or representative of any such person
    having in his possession, using, or carrying a pistol in the usual or ordinary course
    of such business or to any person while carrying a pistol unloaded and in a secure
    wrapper from the place of purchase to his home or place of business or to a place
                                              3
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 5 of 37 PageID #: 332




     of repair or back to his home or place of business or in moving goods from one
     place of abode or business to another.
     ISSUE OF LICENSES TO CARRY
     SEC. 6. The superintendent of police of the District of Columbia may, upon the
     application of any person having a bona fide residence or place of business within
     the District of Columbia or of any person having a bona fide residence or place of
     business within the United States and a license to carry a pistol concealed upon his
     person issued by the lawful authorities of any State or subdivision of the United
     States, issue a license to such person to carry a pistol within the District of
     Columbia for not more than one year from date of issue, if it appears that the
     applicant has good reason to fear injury to his person or property or has any other
     proper reason for carrying a pistol and that he is a suitable person to be so licensed.
     The license shall be in duplicate, in form to be prescribed by the Commissioners of
     the District of Columbia and shall bear the name, address, description, photograph,
     and signature of the licensee and the reason given for desiring a license. The
     original thereof shall be delivered to the licensee, and the duplicate shall be
     retained by the superintendent of police of the District of Columbia and preserved
     in his office for six years.
     SEC. 7. No person shall within the District of Columbia sell any pistol to a person
     who he has reasonable cause to believe is not of sound mind, or is a drug addict, or
     is a person who has been convicted in the District of Columbia or elsewhere of a
     crime of violence or, except when the relation of parent and child or guardian and
     ward exists, is under the age of eighteen years.
     TRANSFERS REGULATED
     SEC. 8. No seller shall within the District of Columbia deliver a pistol to the
     purchaser thereof until forty-eight hours shall have elapsed from the time of the
     application for the purchase thereof, except in the case of sales to marshals,
     sheriffs, prison or jail wardens or their deputies, policemen, or other duly
     appointed law enforcement officers, and, when delivered, said pistol shall be
     securely wrapped and shall be unloaded. At the time of applying for the purchase
     of a pistol the purchaser shall sign in duplicate and deliver to the seller a statement
     containing his full name, address, occupation, color, place of birth, the date and
     hour of application, the caliber, make, model, and manufacturer's number of the
     pistol to be purchased and a statement that he has never been convicted in the
     District of Columbia or elsewhere of a crime of violence. The seller shall, within
     six hours after such application, sign and attach his address and deliver one copy to
     such person or persons as the superintendent of police of the District of Columbia
     may designate, and shall retain the other copy for six years. No machine gun,
     sawed-off shotgun, or
     blackjack shall be sold to any person other than the persons designated in section
                                               4
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 6 of 37 PageID #: 333




     14 hereof as entitled to possess the same, and then only after permission to make
    such sale has been obtained from the superintendent of police of the District of
    Columbia. This section shall not apply to sales at wholesale to licensed dealers.
    DEALERS TO BE LICENSED
    SEC. 9. No retail dealer shall within the District of Columbia sell or expose for
    sale or have in his possession with intent to sell, any pistol, machine gun. sawed -
    oft shotgun, or blackjack without being licensed as hereinafter provided. No
    wholesale dealer shall, within the District of Columbia, sell, or have in his
    possession with intent to sell, to any person other than a licensed dealer, any pistol,
    machine gun, sawed -oil shotgun, or blackjack.
    DEALERS' LICENSES, BY WHOM GRANTED AND CONDITIONS
    THEREOF
    SEC. 10. The Commissioners of the District of Columbia may, in their discretion,
    grant licenses and may prescribe the form thereof, effective for not more than one
    year from date of issue, permitting the licensee to sell pistols, machine guns,
    sawed-off shotguns, and blackjacks at retail within the District of Columbia subject
    to the following conditions in addition to those specified in section 9 hereof, for
    breach of any of which the license shall be subject to forfeiture and the licensee
    subject to punishment as provided in this Act. 1. The business shall be carried on
    only in the building designated in the license. 2. The license or a copy thereof,
    certified by the issuing authority, shall be displayed on the premises where it can
    be easily read. 3. No pistol shall be sold (a) if the seller has reasonable cause to
    believe that the purchaser is not of sound mind or is a drug addict or has been
    convicted in the District of Columbia or elsewhere of a crime of violence or is
    under the age of eighteen years, and (b) unless the purchaser is personally known
    to the seller or shall present clear evidence of his identity. No machine gun, sawed-
    off shotgun,
    or blackjack shall be sold to any person other than the persons designated in
    section 14 hereof as entitled to possess the same, and then only after permission to
    make such sale has been obtained
    from the superintendent of police of the District of Columbia. 4. A true record shall
    be made in a book kept for the purpose the form of which may be prescribed by the
    Commissioners, of pistols, machine guns, and sawed-off shotguns in the
    possession of the licensee, which said record shall contain the date of purchase, the
    caliber, make, model, and manufacturer's number of the weapon, to which shall be
    added, when sold, the date of sale. 5. A true record in duplicate shall be made of
    every pistol, machine gun, sawed-off shotgun, and blackjack sold, said record to be
    made in a book kept for the purpose, the form of which may be prescribed by the
    Commissioners of the District of Columbia and shall be personally signed by the
    purchaser and by the person effecting the sale, each in the presence of the other
                                              5
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 7 of 37 PageID #: 334




    and shall contain the date of sale, the name, address, occupation, color, and place
    of birth of the purchaser, and, so far as applicable, the caliber, make, model, and
    manufacturer's number of the weapon, and a statement signed by the purchaser that
    he has never been convicted in the District of Columbia or elsewhere of a crime of
    violence. One copy of said record shall, within seven days, be forwarded by mail to
    the superintendent of police of the District of Columbia and the other copy retained
    by the seller for six years. 6. No pistol or imitation thereof or placard advertising
    the sale thereof shall be displayed in any part of said premises where it can readily
    be seen from the outside. No license to sell at retail shall be granted to anyone
    except as provided in this section.
    FALSE INFORMATION FORBIDDEN
    SEC. 11. No person, shall, in purchasing a pistol or in applying for a license to
    carry the same, or in purchasing a machine sawed-off shotgun, or blackjack within
    the District of Columbia, give false information or offer false evidence of his
    identity.
    ALTERATION OF IDENTIFYING MARKS PROHIBITED
    SEC. 12. No person shall within the District of Columbia change, alter, remove, or
    obliterate the name of the maker, model, manufacturer's number, or other mark or
    identification on any pistol,
    machine gun, or sawed-off shotgun. Possession of any pistol, machine gun, or
    sawed-off shotgun upon which any such mark shall have been changed, altered,
    removed, or obliterated shall be prima facie evidence that the possessor has
    changed, altered, removed, or obliterated the same within the District of Columbia:
    Provided, however. That nothing contained in this section shall apply to any officer
    or agent of any of the departments of the United States or the District of Columbia
    engaged in experimental work.
    SEC. 13. This Act shall not apply to toy or antique pistols unsuitable for use as
    firearms.
    SEC. 14. No person shall within the District of Columbia possess any machine
    gun, sawed-off shotgun, or any instrument or weapon of the kind commonly
    known as a blackjack, slung shot, sand club, sandbag, or metal knuckles, nor any
    instrument, attachment, or appliance for causing the firing of any firearm to be
    silent or intended to lessen or muffle the noise of the firing of any firearms:
    Provided, however, That machine guns, or sawed-off shotguns, and blackjacks
    may be possessed by the members of the Army, Navy, or Marine Corps of the
    United States, the National Guard, or Organized Reserves when on duty, the Post
    Office Department or its employees when on duty, marshals, sheriffs, prison or jail
    wardens, or their deputies, policemen,
    or other duly appointed law -enforcement officers, officers or employees of the
    United States duly authorized to carry such weapons, banking institutions, public
                                             6
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 8 of 37 PageID #: 335




    carriers who are engaged in the business of transporting mail, money, securities, or
    other valuables, wholesale dealers
    and retail dealers licensed under section 10 of this Act.
    PENALTIES
    SEC. 15. Any violation of any provision of this Act for which no penalty is
    specifically provided shall be punished by a fine of not more than $1,000 or
    imprisonment for not more than one year, or both.
    CONSTITUTIONALITY
    SEC. 16. If any part of this Act is for any reason declared void, provision not to
    affect remainder, such invalidity shall not affect the validity of the remaining
    portions of this Act.
    Approved, July 8, 1932.
    https://www.loc.gov/resource/llsalvol.llsal 047/?sp=675&st=text&r=0.041,0,112,0
    .75.0.862.0

    FLORIDA:

    1913 Fla. 117, An Act to Regulate the Hunting of Wild Deer etc., § 8.
    It shall, at any time, be unlawful to hunt wild game in Marion County with guns-
    known as Automatic guns.

     1933 Fla. Laws 623, An Act to Prevent Throwing of Bombs and the Discharge of
    Machine Guns Upon, or Across Any Public Road in the State of Florida ..., ch.
     16111,§1.
    That it shall be unlawful for any person to throw any bomb or to shoot off or
    discharge any machine guns upon, across or along any road, street or highway in
    the State of Florida, or upon or across any public park in the State of Florida, or in,
    upon or across any public place where people are accustomed to assemble in the
    State of Florida, and the casting of such bomb or the discharge of such machine
    gun in, upon or across such public street, or in, upon or across such public park, or
    in, upon or across such public place, whether indoors or outdoors, including all
    theatres and athletic stadiums, with intent to do bodily harm to any person or with
    intent to do damage to the property of any person, shall be a felony and shall be
    punishable by death.




                                               7
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 9 of 37 PageID #: 336




    HAWAII:

     1933 Haw. Special Sess. Laws 117, An Act.. . Regulating The Sale, Transfer And
    Possession Of Certain Firearms, Tear Gas And Ammunition: § 2.
    Except as permitted under the provisions of this Act, no person, firm or corporation
    shall own, possess, sell, offer for sale or transport any firearm of the kind
    commonly known as a machine gun or any shell cartridge or bomb containing or
    capable of emitting tear gas or any other noxious gas. Provided, however, that
    nothing in this Act contained shall prohibit the sale to, purchase by, or possession
    of such firearms by any city and county, county, territorial or federal officer where
    such firearms are required for professional use in the discharge of his duties, nor to
    the transportation of such firearms for or on behalf of police departments and
    members thereof, sheriffs, or the military or naval forces of this Territory or of the
    United States and “Provided, further that nothing in this Act shall prohibit police
    departments and members thereof, sheriffs, or the military or naval forces of the
    territory or of the United States from possessing or transporting such shells,
    cartridges or bombs for professional use in the discharge of their duties. “The term
    ‘shell, cartridge or bomb’, as used in this Act shall be construed to apply to and
    include all shells, cartridges, or bombs capable of being discharged or exploded
    through or by the use of percussion caps, fuses, electricity, or otherwise, when such
    discharge or explosion will cause or permit the release or emission of tear gases.
    The term ‘machine gun’ as used in this Act shall be construed to apply to and
    include machine rifles, machine guns and submachine guns capable of
    automatically and continuously discharging loaded ammunition of any caliber in
    which the ammunition is fed to such guns from or by means of clips, disks, drums,
    belts or other separable mechanical device.”

    1933 Haw. Sess. Laws 36, An Act Regulating the Sale, Transfer, and Possession of
    Firearms and Ammunition, § 2.
    Definitions. “Firearm” as used in this Act means any weapon, the operating force
    of which is an explosive. This definition includes pistols, revolvers, rifles,
    shotguns, machine guns, automatic rifles, noxious gas projectors, mortars, bombs,
    cannon and sub-machine guns. The specific mention herein of certain weapons
    does not exclude from the definition other weapons operated by explosives.
    “Crime of violence” as used in this Act means any of the following crimes,
    namely: murder, manslaughter, rape, kidnapping, robbery, burglary, and those
    certain crimes set forth in Sections 4130 and 4131 of said Revised Laws. “Pistol”
    or “revolver” as used in this Act, means and includes any firearm of any shape
    whatsoever with barrel less than twelve inches in length and capable of discharging
    loaded ammunition or any noxious gas. ‘“Person” as used in this Act includes
                                              8
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 10 of 37 PageID #: 337




     individuals, firms, corporations and copartnerships, and includes wholesale and
     retail dealers.

     ILLINOIS;

      1931 111. Laws 452-53, An Act to Regulate the Sale, Possession and Transportation
     of Machine Guns, §§1-2.
      § 1. For purposes of this Act the term “machine gun” apples to and includes all
     firearms commonly known as machine rifles, machine guns and sub-machine guns
     of any calibre whatsoever, capable of automatically discharging more than eight
     cartridges successively without reloading, in which the ammunition is fed to such
     gun from or by means of clips, disks, belts, or other separable mechanical device.
     The term “manufacturer” shall apply to and include all persons dealing with
     machine guns as merchandise.
     § 2. It is unlawful for any person to sell, keep or offer for sale, loan or give away,
     purchase, possess, carry or transport any machine gun within this State, except that
      1. Sheriffs, constables, marshals, police officers and other duly appointed peace
     officers may purchase, possess, carry and transport machine guns. 2. The
     provisions of this Act shall not apply to the Army, Navy or Marine Corps of the
     United States, the National Guard, and organizations authorized by law to purchase
     or receive machine guns from the United States, or from this State, and the
     members of such Corps, National Guard and organizations while on duty, may
     possess, carry and transport machine guns. 3. Persons, organizations or institutions
     possessing war relics may purchase and possess machine guns which are relics of
     any war in which the United States was involved, may exhibit and carry such
     machine guns in the parades of any military organization, and may sell, offer to
     sell, loan or give such machine guns to other persons, organizations or institutions
     possessing war relics. 4. Guards or messengers employed by common carriers,
     banks and trust companies, and pay-roll guards or messengers may possess and
     carry machine guns while actually employed in and about the shipment,
     transportation or delivery, or in the guarding of any money, treasure, bullion,
     bonds or other thing of value, and their employers may purchase or receive
     machine guns and keep them in their possession when such guns are not being
     used by such guards or messengers 5. Manufacturers and merchants may sell, keep
     or offer for sale, loan or give away, purchase, possess and transport, machine guns,
     in the same manner as other merchandise except as hereinafter provided, and
     common carriers may possess and transport unloaded machine guns, as other
     merchandise.



                                               9
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 11 of 37 PageID #: 338




     1931 111. Laws 453, An Act to Regulate the Sale, Possession and Transportation of
     Machine Guns, § 4.
     Every manufacturer or merchant shall keep a register of all machine guns
     manufactured or handled by him. This register shall show the date of the sale, loan,
     gift, delivery or receipt of any machine gun, the name, address and occupation of
     the person to whom the machine gun was sold, loaned, given or delivered, or from
     whom it was received, and the purpose for which the person to whom the machine
     gun was sold, loaned, given or delivered, purchased or obtained said machine gun.
     Upon demand, every manufacturer or merchant shall permit any sheriff or deputy
     sheriff, or any police officer to inspect his entire stock of machine guns, parts and
     supplies therefor, and shall produce the register herein required and all written
     permits to purchase or possess a machine gun, which he has retained and filed in
     his place of business for inspection by such officer.

     1931 111. Laws 454, An Act to Regulate the Sale, Possession and Transportation of
     Machine Guns, § 7.
     Any person committing or attempting to commit arson, assault, burglary,
     kidnapping, larceny, rioting, or robbery while armed with a machine gun shall be
     imprisoned in the penitentiary for his natural life, or for a term not less than five
     years.

     INDIANA;

     1927 Ind. Acts 469, Public Offenses—Ownership, Possession or Control of
     Machine Guns or Bombs—Penalty, eh. 156, § 1.
     . . . [W]hoever shall be the owner of, or have in his possession, or under his
     control, in an automobile, or in any other way, a machine gun or bomb loaded with
     explosives, poisonous or dangerous gases, shall be deemed guilty of a felony, and
     upon conviction thereof, shall be imprisoned for a term of not less than one year
     nor more than five years.

     1927 Ind. Acts 469, Operation of Machine Guns, Discharge of Bombs—Offense
     and Penalty:, eh. 156, § 2.
     Whoever shall discharge, fire off, or operate any loaded machine gun, or whoever
     shall drop form an airplane, automobile, or from any building or structure, or who
     shall throw, hurl, or drop from ground or street, or keep in his possession and
     under his control any bomb filled with deadly or dangerous explosives, or
     dangerous or poisonous gases, shall be deemed guilty of a felony and upon
     conviction shall be imprisoned for a term of not less than two nor more than ten
     years.
                                              10
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 12 of 37 PageID #: 339




      1929 Ind. Acts 139, Criminal Offenses—Commission of or Attempt to Commit
     Crime While Armed with Deadly Weapon, ch.55, § 1.
     Be it enacted by the general assembly of the State of Indiana, That any person who
     being over sixteen years of age, commits or attempts to commit either the crime of
     rape, robbery, bank robbery, petit larceny or grand larceny while armed with a
     pistol, revolver, rifle, shotgun, machine gun or any other firearm or any dangerous
     or deadly weapon, or while any other person present and aiding or assisting in
     committing or attempting ot commit either of said crimes is armed with any of said
     weapons, shall be guilty of a seperate felony in addition to the crimes above named
     and upon conviction shall be imprisoned for a determinate period of not less than
     ten years nor more than twenty years ....

     IOWA;

     1927 Iowa Acts 201, An Act to prohibit the Possession or Control of Machine
     Guns. ...,§§ 1-2.
     § 1. No person, firm, partnership, or corporation shall knowingly have in his or its
     possession or under his or its control any machine gun which is capable of being
     fired from the shoulder or hip of a person, and by the recoil of such gun.
     § 2. No person, firm, partnership, or corporation shall do any act with the intent to
     enable any other person, firm, partnership, or corporation to obtain possession of
     such gun.

     KANSAS:

     1933 Kan. Sess. Laws 76, An Act Relating to Machine Guns and Other Firearms
    Making the Transportation or Possession Thereof Ulawful in Certain Cases,
    Providing for Search, Seizure and Confiscation Thereof in Certain Cases, Relating
    to the Ownership and Registration of Certain Firearms, and Providing Penalties for
    the Violation of this Act, ch. 62, §§ 1-3.
    § 1. That is shall be unlawful for any person, firm, or corporation other than a
    sheriff or other peace officer or any military unit of the state or of the United States
    or any common carrier for hire, to transport or have in his possession or under his
    control a firearm known as a machine rifle, machine gun, or submachine gun:
    Provided, That banks, trust companies or other institutions or corporations subject
    to unusual hazard from robbery or holdup, may secure permits form the sheriff of
    the county in which they are located for one or more of their employees to have
    such firearms: Provided further, That museums, American Legions posts, and other


                                               11
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 13 of 37 PageID #: 340




     similar patriotic organizations may possess such firearms, when no usable as a
     weapon and when possessed as a curiosity, ornament or keepsake.
     § 2. That any person violating the provisions of the preceding section shall be
     guilty of a felony, and upon conviction shall be subject to imprisonment in the state
     penitentiary for not less than one year nor more than five years.
     § 3. Upon complaint being made on oath to any officer authorized to issue process
     for the apprehension of offenders that a firearm or firearms known as a machine
     rifles, machine guns or sub-machine guns as described in this act, are concealed in
     any particular house or place, and if such magistrate shall be satisfied that there are
     reasonable grounds for believing same to be true, he shall issue a warrant to search
     the house or place for such firearms ....

     LOUISIANA:

     1932 La. Acts 337-38, An Act to Regulate the Sale, Possession and Transportation
     of Machine Guns, and Providing a Penalty for a Violation Hereof ...,§§ 1-2.
     § 1.... for the purpose of this Act the term “machine gun” applies to and include
     all firearms commonly known as machine rifles, machine guns and sub-machine
     guns of any caliber whatsoever, capable of automatically discharging more than
     eight cartridges successively without reloading, in which the ammunition is fed to
     such gun from or by means of clips, disks, belts, or other separable mechanical
     device.
     § 2. It is unlawful for any person to sell, keep or offer for sale, loan or give away,
     purchase, possess, carry or transport any machine gun within this State, except that
     (exceptions for law enforcement, military, war relics, museums, guards,
     messengers)....

     MARYLAND:

     1927 Md. Laws 156, § 388-B.
     That not person, persons house, company, association or body corporate, shall
     deposit, keep or have in his, her, their or its possession any spirituous or fermented
     liquors, or intoxicating drinks of any kind whatsoever, or any article used or sold
     as a beverage in the composition of which, whiskey, brandy, high wines or
     alcoholic, spirituous or fermented liquors shall be an ingredient or ingredients, in
     any automobile or other vehicle in which any device for the prevention or arrest or
     apprehension of said motor vehicle, or the occupants thereof of the type commonly
     known as a smoke screen is carried, whether the said device be attached as a part
     of said motor vehicle in which any gun, pistol, revolver, rifle machine gun, or other


                                               12
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 14 of 37 PageID #: 341




     dangerous or deadly weapon of any kind whatsoever is carried, whether in said
     automobile or vehicle, or on the person of any occupant of the same.

     MASSACHUSETTS;

     1927 Mass. Acts 416, An Act Relative to Machine Guns and Other Firearms, ch.
     326, § 5 (amending §10)
     .. . Whoever, except as provided by law, carries on his person, or carries on his
     person or under his control in a vehicle, a pistol or revolver, loaded or unloaded, or
     possesses a machine gun as defined in section one hundred and twenty-one of
     chapter one hundred and forty... or whoever so carries any stiletto, dagger, dirk
     knife, slung shot, metallic knuckles or sawed off shotgun, or whoever, when
     arrested upon a warrant for an alleged crime or when arrested while committing a
     crime or a breach or disturbance of the public peace, is armed with, or has on his
     person, or has on his person or under his control in a vehicle, a billy or dangerous
     weapon other than those herein mentioned, shall be punished by imprisonment for
     not less than six months nor more than two and a half years in a jail. .

      1927 Mass. Acts 413, An Act Relative to Machine Guns and Other Firearms, ch.
     326, §§1-2 (amending §§121,123)
     § 1. In sections one hundred and twenty-two to one hundred and twenty-nine,
     inclusive, “firearms” includes a pistol, revolver or other weapon of any description,
     loaded or unloaded, from which a shot or bullet can be discharged and of which the
     length of barrel, not including any revolving, detachable or magazine breach, does
     not exceed twelve inches, and a machine gun, irrespective of the length of the
     barrel. Any gun of small arm calibre designed for rapid fire and operated by a
     mechanism, or any gun which operates automatically after the first shot has been
     fired, either by gas action or recoil action, shall be deemed to be a machine gun for
     the purposes of said sections, and of sections one hundred and thirty-one and one
     hundred and thirty one B...
     § 2. .. Eighth, That no pistol or revolver shall be sold, rented or leased to a person
     who has not a permit, then in force, to purchase, rent or lease the same issued
     under section one hundred and thirty-one A, and that no machine gun shall be sold,
     rented or leased to a person who has not a license to possess the same issued under
     section one hundred and thirty-one. . .




                                               13
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 15 of 37 PageID #: 342




     MICHIGAN:

      1927 Mich. Pub. Acts 888-89, An Act to Regulate and License the Selling,
     Purchasing, Possessing and Carrying of Certain Firearms, § 3.
     It shall be unlawful within this state to manufacture, sell, offer for sale, or possess
     any machine gun or firearm which can be fired more than sixteen times without
     reloading, or any muffler, silencer or device for deadening or muffling the sound of
     a discharged firearm, or any bomb or bombshell, or any blackjack, slung shot,
     billy, metallic knuckles, sandclub, sandbag or bludgeon. Any person convicted of a
     violation of this section shall be guilty of a felony and shall be punished by a fine
     not exceeding one thousand dollars or imprisonment in the state prison not more
     than five years, or by both such fine and imprisonment in the discretion of the
     court. .. .

     1929 Mich. Pub. Acts 529, An Act to Regulate and License the Selling,
     Purchasing, Possessing and Carrying of Certain Firearms, § 3.
     It shall be unlawful within this state to manufacture, sell, offer for sale or possess
     any machine gun or firearm which can be fired more than sixteen times without
     reloading or any muffler, silencer, or device for deadening or muffling the sound of
     a discharged firearm, or any bomb, or bomb shell, blackjack, slung shot, billy,
     metallic knuckles, sand club, sand bag, or bludgeon or any gas ejecting device,
     weapon, cartridge, container, or contrivance designed or equipped for or capable of
     ejecting any gas which will either temporarily or permanently disable, incapacitate,
     injure or harm any person with whom it comes in contact.

     MINNESOTA:

      1933 Minn. Laws 231-33, An Act Making It Unlawful to Use, Own, Possess, Sell,
     Control or Transport a “Machine Gun”, as Hereinafter Defined, and Providing a
     Penalty for the Violation Thereof, ch. 190, §§ 1-3.
     § 1. Definitions, (a) Any firearm capable of loading or firing automatically, the
     magazine of which is capable of holding more than twelve cartridges, shall be a
     machine gun within the provisions of the Act. (b) Any firearm capable of
     automatically reloading after each shot is fired, whether firing singly by separate
     trigger pressure or firing continuously by continuous trigger pressure; which said
     firearm shall have been changed, altered or modified to increase the magazine from
     the original design as manufactured by the manufacturers thereof, or by the
     addition thereto of extra and/or longer grips or stocks to accommodate such extra
     capacity, or by the addition, modification and/or attachment thereto of any other
     device capable of increasing the magazine capacity thereof, shall be a machine gun
                                               14
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 16 of 37 PageID #: 343




     within the provisions of this Act. (c) A twenty-two caliber light sporting rifle,
     capable of firing continuously by continuous trigger pressure, shall be a machine
     gun within the provisions of this Act. But a twenty-two caliber light sporting rifle,
     capable of automatically reloading but firing separately by separate trigger
     pressure for each shot, shall not be a machine gun within the provisions of this Act
     and shall not be prohibited hereunder, whether having a magazine capacity of
     twelve cartridges or more. But if the same shall have been changed, altered, or
     modified, as prohibited in section one (b) hereof, then the same shall be a machine
     gun within the provisions of this Act.
     § 2. Application. This Act shall not apply to sheriffs, coroners, constables,
     policemen or other peace officers, or to any warden, superintendent or head keeper
     of any prison, penitentiary, county jail or other institution for retention of any
     person convicted or accused of crime, while engaged in the discharge of official
     duties, or to any public official engaged in the enforcement of law; nor to any
     person or association possessing a machine gun not usable as a weapon and
     possessed as a curiosity, ornament or keepsake; when such officers and persons
     and associations so excepted shall make and file with the Bureau of Criminal
     Apprehension of this state within 30 days after the passage of this Act, a written
     report showing the name and address of such person or association and the official
     title and position of such officers ...
     § 3. Machine guns prohibited. Any person who shall own, control, use, possess,
     sell or transport a machine gun, as herein defined, in violation of this Act, shall be
     guilty of a felony.

     MISSOURI:

     1929 Mo. Laws 170, Crimes and Punishment, Prohibiting the Sale, Delivery,
     Transportation, Possession, or Control of Machine Rifles, Machine Guns and Sub­
     machine Guns, and Providing Penalty for Violation of Law, §§ 1-2.
     § 1. Unlawful to sell, deliver, transport or have in possession any machine gun. - It
     shall be unlawful for any person to sell, deliver, transport, or have in actual
     possession or control any machine gun, or assist in, or cause the same to be done.
     Any person who violates this act shall be guilty of a felony and punished by
     imprisonment in the state penitentiary not less than two (2) nor more than thirty
     (30) years, or by a fine not to exceed five thousand dollars, or by both such fine
     and imprisonment. Provided, that nothing in this act shall prohibit the sale,
     delivery, or transportation to police departments or members thereof, sheriffs, city
     marshals or the military or naval forces of this state or of the United States, or the
     possession and transportation of such machine guns, for official use by the above
     named officers and military and naval forces in the discharge of their duties.
                                               15
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 17 of 37 PageID #: 344




     § 2. The term “machine-gun” defined - The term “machine gun” as used in this act
     shall be construed to apply to and include all firearms known as machine rifles,
     machine guns or sub-machine guns capable of discharging automatically and
     continuously loaded ammunition of any caliber in which the ammunition is fed to
     such gun from or by means of clips, disks, drums, belts or other separable
     mechanical device.

     NEBRASKA:

      1929 Neb. Laws 674, An Act Prohibiting the Sale, Possession and Transportation
     of Machine Guns within the State of Nebraska; and Prescribing Penalties for the
     Violation of the Provisions Hereof, ch. 190, §§ 1-2.
     § 1. Machine Guns - Sale Unlawful - Penalty - It shall be unlawful for any person,
     firm or corporation, its or their agents or servants, to sell or cause to be sold or
     otherwise to dispose of any machine gun to any person in the State of Nebraska,
     except officers of the law, agents of the United States government, or agents of the
     law enforcement department of the State of Nebraska. If any person, firm or
     corporation, or its or their agents or servants violate any of the provisions of this
     section, they shall be deemed guilty of a misdemeanor and upon conviction
     thereof, shall be fined in a sum not less than one thousand dollars nor more than
     ten thousand dollars.
     § 2. U.S. Army and National Guard Exempt - It shall be unlawful for any person
     or persons, except officers of the law, soldiers of the United States Army, or
     officers and enlisted men of the National Guard of this state, to transport any
     machine gun on any highway within this state, or to have in possession for any
     unlawful purpose any machine gun. Any person violating any of the provisions of
     this section shall be deemed guilty of a felony and upon conviction thereof, shall
     be imprisoned in the state penitentiary for not less than one year nor more than ten
     years.

     NEW JERSEY:

      1920 NJ. Laws 67, An Act to Amend an Act Entitled, “An Act for the Protection
     of Certain Kinds of Birds, Game and Fish, to Regulate Their Method of Capture,
     and Provide Open and Close Seasons for Such Capture and Possession,” ch. 31,
     §9.
     It shall be unlawful to use in hunting fowl or animals of any kind any shotgun or
     rifle holding more than two cartridges at one time, or that may be fired more than
     twice without reloading, or to use any silencer on any gun rifle or firearm when
     hunting for game or fowl under a penalty of twenty dollars for each offense.
                                              16
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 18 of 37 PageID #: 345




     1927 N.J. Laws 742, A Further Supplement to an Act Entitled, “An Act for the
     Punishment of Crimes,” ch. 321, § 1.
     No pawnbroker shall hereafter sell or have in his possession for sale or to loan or
     give away, any machine gun, automatic rifle, revolver, pistol, or other firearm, or
     other instrument of any kind known as a blackjack, slungshot, billy, sandclub,
     sandbag, bludgeon, metal knuckles, dagger, dirk, dangerous knife, stiletto, bomb or
     other high explosive. Any pawnbroker violating the provisions of this act shall be
     guilty of a high misdemeanor and punished accordingly.

     1927 N.J. Laws 180-81, A Supplement to an Act Entitled “An Act for the
     Punishment of Crimes,” ch. 95, §§ 1-2.
     § 1. The term “machine gun or automatic rifle,” as used in this act, shall be
     construed to mean any weapon, mechanism or instrument not requiring that the
     trigger be pressed for each shot and having a reservoir, belt or other means of
     storing and carrying ammunition which can be loaded into the said weapon,
     mechanism or instrument and fired therefrom at a rate of five or more shots to the
     second.
     § 2. Any person who shall sell, give, loan, furnish or deliver any machine gun or
     automatic rifle to another person, or any person who shall purchase, have or
     possess any machine gun or automatic rifle, shall be guilty of a high misdemeanor;
     provided, the provisions of this section shall not apply to any person who has
     procured and possesses a license to purchase, have and possess a machine gun or
     automatic rifle as hereinafter provided for; nor to the authorized agents and
     servants of such licensee; or to the officers and members of any duly authorized
     military organization; nor to the officers and members of the police force of any
     municipality, nor to the officers and members of the State Police force; nor to any
     sheriff or undersheriff; nor to any prosecutor of the pleas, his assistants, detectives
     and employees.

     1934 N.J. Laws 394-95, A Further Supplement to an Act Entitled “An Act for the
     Punishment of Crimes,” ch. 155, §§ 1-5.
     § 1. A gangster is hereby declared to be an enemy of the state.
     § 2. Any person in whose possession is found a machine gun or a submachine gun
     is declared to be a gangster; provided, however, that nothing in this section
     contained shall be construed to apply to any member of the military or naval forces
     of this State, or to any police officer of the State or of any county or municipality
     thereof, while engaged in his official duties.
     § 3. Any person, having no lawful occupation, who is apprehended while carrying
     a deadly weapon, without a permit so to do and how has been convicted at least
                                               17
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 19 of 37 PageID #: 346




     three times of being a disorderly person, or who has been convicted of any crime,
     in this or in any other State, is declared to be a gangster.
     § 4. Any person, not engaged in any lawful occupation, known to be a member of
     any gang consisting of two or more persons, who has been convicted at least three
     times of being a disorderly person, or who has been convicted of any crime, in this
     or in any other State, is declared to be a gangster; provided, however, that nothing
     in this section contained shall in any wise be construed to include any participant
     or sympathizer in any labor dispute.
     § 5. Any person convicted of being a gangster under the provisions of this act shall
     be guilty of a high misdemeanor, and shall be punished by a fine not exceeding ten
     thousand dollars ($10,000.00), or by imprisonment not exceeding twenty years, or
     both.

     NEW YORK:

     1931 N.Y. Laws 1033, An Act to Amend the Penal Law in Relation to Carrying
     and Use of Glass Pistols, ch. 435, § 1.
     A person who attempts to use against another an imitation pistol, or who carries or
     possesses any instrument or weapon of the kind commonly known as a black-jack,
     slungshot, billy, sand club, sandbag, metal knuckles, bludgeon, or who, with intent
     to use the same unlawfully against another, carries or possesses a dagger, dirk,
     dangerous knife, razor, stiletto, imitation pistol, machine gun, sawed off shot-gun,
     or any other dangerous or deadly instrument, or weapon is guilty of a
     misdemeanor, and if he has been previously convicted of any crime he is guilty of
     a felony.

     1933 N.Y. Laws 1639, An Act to Amend the Penal Law, in Relation to the Sale,
     Possession and Use of Sub-Machine Guns, ch. 805, §§ 1,3.
     § 1... A person who sells or keeps for sale, or offers or gives, disposes of or
     transports any instrument or weapon of the kind usually known as a machine-gun
     or a sub-machine gun to any person is guilty of a felony, except that the
     manufacture of machine-guns and sub-machine guns as merchandise and the sale
     and shipment thereof direct to regularly constituted or appointed state or municipal
     police departments, sheriffs, policemen, and other peace officers, and to state
     prisons, penitentiaries and county jails, and to military and naval organizations
     shall be lawful.
     § 3.... A machine gun is a weapon of any description, irrespective of size, by
     whatever name known, loaded or unloaded, from which a number of shots or
     bullets may be rapidly or automatically discharged from a magazine with one
     continuous pull of the trigger and includes a sub-machine gun. A person who
                                              18
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 20 of 37 PageID #: 347




     possesses or uses such machine-gun is guilty of a felony. The presence of such
     machine-gun in any room, dwelling, structure, or vehicle shall be presumptive
     evidence of its illegal possession by all the persons occupying the place where such
     machine gun is found.

     NORTH CAROLINA:

     1917 N.C. Sess. Laws 309, Pub. Local Laws, An Act to Regulate the Hunting of
     Quail in Harnett County, ch. 209, § 1.
     That the open season for hunting quail shall be from the first day of December to
     the fifteenth day of January following each succeeding year, and that it shall be
     unlawful to kill quail with any gun or guns that shoot over two times before
     reloading, and any person violating any of the provisions of this act shall be guilty
     of a misdemeanor.

     NORTH DAKOTA:

     1931 N.D. Laws 305-06, An Act to Prohibit the Possession, Sale and Use of
     Machine Guns, Sub-Machine Guns, or Automatic Rifles and Defining the Same . .
     ., ch. 178, §§ 1-2.
     § 1. The term “machine gun, sub-machine gun or automatic rifle” as used in this
     act shall be construed to mean a weapon mechanism or instrument not requiring
     the trigger be pressed for each shot and having a reservoir, belt or other means of
     storing and carrying ammunition which can be loaded into the said weapon,
     mechanism or instrument and fired therefrom at a rate of five or more shots to the
     second.
     § 2. Any person who shall sell, give, loan, furnish or deliver any machine gun, sub­
     machine gun, automatic rifle of a caliber larger than twenty-two, or a bomb loaded
     with explosives or poisonous or dangerous gases to another person, or any person
     who shall purchase, have or possess any machine gun, sub-machine gun, automatic
     rifle, or a caliber larger than twenty-two or a bomb loaded with explosives or
     poisonous or dangerous gases, shall be guilty of a felony and shall be punished by
     imprisonment in the state penitentiary not to exceed ten years, or by a fine of not
     more than three thousand dollars, or both. Provided, that the provisions of this act
     shall not apply to any person who has procured and possesses a license to
     purchase, sell, have or possess a machine gun, sub-machine gun, automatic rifle, of
     a caliber larger than twenty-two, or bomb loaded with explosives or poisonous or
     dangerous gases, as hereinafter provided for, nor to the authorized agents and
     servants of such licensee or to the officers and members of any duly authorized
     military organization, nor to the officers and members of the police force of any
                                              19
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 21 of 37 PageID #: 348




     municipality, nor to any Sheriff, deputy sheriff, nor any other officer having police
     powers under the laws of the State.

     OHIO:

      1933 Ohio Laws 189-90, Reg. Sess., An Act... Relative to the Sale and Possession
     of Machine Guns, § 1.
     That § 12819 of the General Code be supplemented ... to read as follows:
     Definitions. § 12819-3. For the purpose of this act, a machine gun, a light machine
     gun or a sub-machine gun shall be defined as any firearm which shoots
     automatically, or any firearm which shoots more than eighteen shots semi-
     automatically without reloading. Automatically as above used means that class of
     firearms which, while the trigger on the firearm is held back continues to fire
     successive shots. Semi-automatically means that class of firearm which discharges
     one shot only each time the trigger is pulled, no manual reloading operation being
     necessary between shots. Machine gun permit; application; bond or applicant;
     exceptions. § 12819-4. No person shall own, possess, transport, have custody of or
     use a machine gun, light machine gun or sub-machine gun, unless he first procures
     a permit therefor from and at the direction of the adjutant general of Ohio, who
     shall keep a complete record of each permit so issued. A separate permit shall be
     obtained for each gun so owned, possessed or used. The adjutant general shall
     require each applicant for such permit to give an accurate description of such
     weapon, the name of the person from whom it was or is to be obtained, the name of
     the person or persons to have custody thereof and the place of residence of the
     applicant and custodian. Before obtaining such permit each applicant shall give
     bond to the state of Ohio, to be approved by the adjutant general in the sum of five
     thousand dollars, conditioned to save the public harmless by reason of any
     unlawful use of such weapon while under the control of such applicant or under the
     control of another with his consent; and any person injured by such improper use
     may have recourse on said bond. Provided, however, that this section shall not
     affect the right of the national guard of Ohio, sheriffs, regularly appointed police
     officers of incorporated cities and villages, regularly elected constables, wardens
     and guards of penitentiaries, jails, prisons, penal institutions or financial
     institutions maintaining their own police force and such special officers as are now
     or may be hereafter authorized by law to possess and use such weapons when on
     duty. Any person who owns, possesses or has custody of a machine gun, light
     machine gun or sub-machine gun at the time when this section shall become
     effective, shall have thirty days thereafter in which to comply with the provisions
     of this section. Penalty for possession, transportation, etc., without permit. §
     12819-5. Whoever owns, possesses, transports or has custody of or uses a machine
                                              20
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23
                                                  \     Page 22 of 37 PageID #: 349




     gun, light machine gun or sub-machine gun without a permit, as provided by
     section 12819-4 of the General Code, or whoever having such permit, uses or
     consents to the use by another of such weapon in an unlawful manner, shall be
     guilty of a felony and upon conviction thereof, shall be imprisoned in the
     penitentiary not less than one nor more than ten years. [War trophies excepted].

     OREGON;

     1933 Or. Laws 489, An Act to Amend Sections 72-201, 72-202, 72-207, Oregon
     Code 1930, ch. 315, §§3-4.
     § 3. Except as otherwise provided in this act, it shall be unlawful for any person
     within this state to possess or have in his possession any machine gun . ..
     § 4. The unlawful concealed carrying upon the person or within the vehicle of the
     carrier of any machine gun, pistol, revolver or other firearm capable of being
     concealed upon the person is a nuisance. Any such weapons taken from the person
     or vehicle of any person unlawfully carrying the same are herby declared to be
     nuisances, and shall be surrendered to the magistrate before whom said person
     shall be taken . ..

     1933 Or. Laws 488, An Act to Amend Sections 72-201, 72-202, 72-207, Oregon
     Code 1930, § 2.
     On and after the date upon which this act takes effect no unnaturalized foreign-
     born person and no person who has been convicted of a felony against the person
     or property of another or against the government of the United States or the state of
     Oregon or of any political subdivision thereof shall own or have in his possession
     or under his custody or control any pistol, revolver, or other firearms capable of
     being concealed upon the person, or machine gun. The terms “pistol,” “revolver,”
     and “firearms capable of being concealed upon the person” as used in this acts
     shall be construed to apply to and include all firearms having a barrel less than 12
     inches in length. The word “machine gun” shall be construed to be a weapon of
     any description by whatever name known, loaded or unloaded, from which two or
     more shots may be fired by a single pressure upon the trigger device. Any person
     who shall violate the provisions of this section shall be guilty of a felony and, upon
     conviction thereof, be punishable by imprisonment in the state penitentiary for not
     less than one nor more than five years.




            x


                                              21
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 23 of 37 PageID #: 350




     PENNSYLVANIA:

      1929 Pa. Laws 777, An Act prohibiting the sale, giving away, transfer, purchasing,
     owning, possession and use of machine guns: §§1-4
      § 1. Be it enacted, etc., That the term “machine gun” as used in this act, shall mean
     any firearm that fires two or more shots consecutively at a single function of the
     trigger or firing device.
     § 2. It shall be unlawful for any person, copartnership, association or corporation to
     sell, or give, or transfer, any machine gun to any person, copartnership, association
     or corporation within this Commonwealth; and it shall be unlawful for any person,
     copartnership, association, or corporation to purchase, own or have in possession
     any machine gun. Any person violating any of the provisions of this section shall
     be guilty of a felony, and, on conviction thereof, shall be sentenced to pay a fine
     not exceeding one thousand dollars, and undergo imprisonment by separate or
     solitary confinement at labor not exceeding five years.
     § 3. Any person who shall commit, or attempt to commit, any crime within this
     Commonwealth, when armed with a machine gun, shall, upon conviction of such
     crime or attempt to commit such crime, in addition to the punishment for the crime
     for which he has been convicted, be sentenced to separate and solitary confinement
     at labor for a term not exceeding ten years. Such additional penalty of
     imprisonment shall commence upon the expiration or termination of the sentence
     imposed for the crime of which he stands convicted, and shall not run concurrently
     with such sentence.
     § 4. Nothing contained in this act shall prohibit the manufacture for, and sale of,
     machine guns to the military forces of the United States, or of the Commonwealth
     of Pennsylvania, or to any police department of this Commonwealth, or of any
     political subdivision thereof, nor to the purchase or possession of machine guns by
     such governments and departments; and nothing contained in this act shall prohibit
     any organization, branch, camp or post of veterans, or any veteran of any war in
     which the United States was engaged, from owning and possessing a machine gun
     as a relic, if a permit for such ownership or possession has been obtained from the
     sheriff of the county, which permit is at all times attached to such machine gun.
     The sheriffs of the several counties are hereby authorized, upon application and the
     payment of a fee of one dollar, to issue permits for the ownership and possession
     of machine guns by veteran and organizations, branches, camps or posts of
     veterans and organizations, branches, camps or posts of veterans, upon production
     to the sheriff of such evidence as he may require that the organization, branch,
     camp or post is a bona fide organization of veterans, or that any such veteran



                                              22
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 24 of 37 PageID #: 351




     applicant is a veteran of good moral character and reputation, and that the
     ownership and possession of such machine gun is actually desired as a relic.

     1929 Pa. Laws 777, An Act prohibiting the sale, giving away, transfer, purchasing,
     owning, possession and use of machine guns: § 3.
     § 3. Any person who shall commit, or attempt to commit, any crime within this
     Commonwealth, when armed with a machine gun, shall upon conviction of such
     crime or attempt to commit such crime, in addition to the punishment for the crime
     for which he has been convicted, be sentenced to separate and solitary confinement
     at labor for a term not exceeding ten years. Such additional penalty of
     imprisonment shall commence upon the expiration or termination of the sentence
     imposed for the crime of which he stands convicted, and shall not run concurrently
     with such sentence.

     RHODE ISLAND:

     1927 R.I. Pub. Laws 256, An Act to Regulate the Possession of Firearms: §§ 1, 12.
     § 1. When used in this act the following words and phrases shall be construed as
     follows: “pistol” shall include any pistol or revolver, and any shot gun, rifle or
     similar weapon with overall less than twenty-six inches, but shall not include any
     pistol without a magazine or any pistol or revolver designed for the use of blank
     cartridges only, “machine gun” shall include any weapon which shoots
     automatically and any weapon which shoots more than twelve shots semi-
     automatically without reloading. “Firearm shall include any machine gun or pistol.
     . . “crime of violence” shall mean and include nay of the following crimes or any
     attempt to commit any of the same, viz. murder, manslaughter, rape, mayhem,
     assault or battery involving grave bodily injury, robbery, burglary, and breaking
     and entering, “sell” shall include let or hire, give, lend and transfer, and the word
     “purchase” shall include hire, accept and borrow, and the expression “purchasing”
     shall be construed accordingly. . .
     § 12. No person shall change, alter, remove, or obliterate the name of the maker,
     model, manufacturer’s number, or other mark of identification on any firearm.
     Possession of any firearm upon which any such mark shall have been changed,
     altered, removed, or obliterated, shall be prima facie evidence that the possessor
     has changed, altered, removed or obliterated the same.

     1927 (January Session) R.I. Pub. Laws 256, An Act to Regulate the Possession of
     Firearms: §§ 1, 4, 5, 6
     § 1. When used in this act the following words and phrases shall be construed as
     follows: “Pistol” shall include any pistol or revolver, and any shot gun, rifle or
                                              23
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 25 of 37 PageID #: 352




      similar weapon with overall less than twenty-six inches, but shall not include any
     pistol without a magazine or any pistol or revolver designed for the use of blank
     cartridges only, “machine gun” shall include any weapon which shoots
     automatically and any weapon which shoots more than twelve shots semi-
     automatically without reloading. “Firearm shall include any machine gun or pistol.
      .. “Crime of violence” shall mean and include any of the following crimes or any
     attempt to commit any of the same, viz.: murder, manslaughter, rape, mayhem,
     assault or battery involving grave bodily injury, robbery, burglary, and breaking
     and entering. “Sell” shall include let or hire, give, lend and transfer, and the word
     “purchase” shall include hire, accept and borrow, and the expression “purchasing”
     shall be construed accordingly. ..
      § 4. No person shall, without a license therefor, issued as provided in section six
     hereof, carry a pistol in any vehicle or concealed on or about his person, except in
     his dwelling house or place of business or on land possessed by him, and no person
     shall manufacture, sell, purchase or possess a machine gun except as otherwise
     provided in this act.
      § 5. The provisions of section four shall not apply to sheriffs, deputy sheriffs, the
     superintendent and members of the state police, prison or jail wardens or their
     deputies, members of the city or town police force or other duly appointed law
     enforcement officers, nor to members of the army, navy or marine corps of the
     United States, or of the national guard, when on duty, or of organizations by law
     authorized to purchase or receive firearms from the United States or this state, nor
     to officers or employees of the United States authorized by law to carry a
     concealed firearm, nor to duly authorized military organizations when on duty, nor
     to members thereof when at or going to or from their customary places of
     assembly, nor to the regular and ordinary transportation of pistols as merchandise,
     nor to any person while carrying a pistol unloaded in a wrapper from the place of
     purchase to his home or place of business, or to a place of repair or back to his
     home or place of business, or in moving goods from one place or abode or business
     to another.
     § 6. The licensing authorities of any city or town shall upon application of any
     person having a bona fide residence or place of business within such city or town,
     or of any person having a bona fide residence or place of business within the
     United States and a license to carry a pistol concealed upon his person issued by
     the authorities of any other state or subdivision of the United States, issue a license
     to such person to carry concealed upon his person a pistol within this state for not
     more than one years from date of issue, if it appears the applicant has good reason
     to fear an injury to his person or property or has any other proper reason for
     carrying a pistol, and that he is a suitable person to be so licensed. The license shall
     be in triplicate, in form to be prescribed by the attorney-general and shall bear the
                                               24
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 26 of 37 PageID #: 353




     fmgerpring, name, address, description and signature of the licensee and the reason
     given for desiring a license. The original thereof shall be delivered to the licensee,
     the duplicate shall within seven days be sent to the attorney-general and the
     triplicate shall be preserved for six years by the licensing authorities issuing said
     license. A fee of two dollars may be charged and shall be paid for each license, to
     the officer issuing the same. Before issuing any such permit the applicant for the
     same shall be required to give bond to the city or town treasurer in the penal sum
     of three hundred dollars, with surety satisfactory to the authority issuing such
     permit, to keep the peace and be of good behavior. Every such permit shall be valid
     for one year from the date when issued unless sooner revoked. The fee charged for
     the issuing of such license or permit shall be applied in accordance with the
     provisions of section thirty-three of chapter 401 of the general laws.

      1927 R. I. Pub. Laws 256, An Act to Regulate the Possession of Firearms: §§ 1,4,
     7, 8.
     § 1. When used in this act the following words and phrases shall be construed as
     follows: “Pistol” shall include any pistol or revolver, and any shot gun, rifle or
     similar weapon with overall less than twenty-six inches, but shall not include any
     pistol without a magazine or any pistol or revolver designed for the use of blank
     cartridges only. “Machine gun” shall include any weapon which shoots
     automatically and any weapon which shoots more than twelve shots semi-
     automatically without reloading. “Firearm shall include any machine gun or pistol.
     .. “Crime of violence” shall mean and include any of the following crimes or an
     attempt to commit any of the same, viz.: murder, manslaughter, rape, mayhem,
     assault or battery involving grave bodily injury, robbery, burglary, and breaking
     and entering. “Sell” shall include let or hire, give, lend and transfer, and the word
     “purchase” shall include hire, accept and borrow, and the expression “purchasing”
     shall be construed accordingly...
     § 4. No person shall, without a license therefor, issued as provided in section six
     hereof, carry a pistol in any vehicle or concealed on or about his person, except in
     his dwelling house or place of business or on land possessed by him, and no person
     shall manufacture, sell, purchase or possess a machine gun except as otherwise
     provided in this act.
     § 7. The attorney-general may issue a permit to any banking institution doing
     business in this state or to any public carrier who is engaged in the business of
     transporting mail, money, securities or other valuables, to possess and use machine
     guns under such regulations as the attorney general may prescribe.
     § 8. It shall be unlawful within this state to manufacture, sell, purchase or possess
     except for military or police purposes, any muffler, silencer or device for
     deadening or muffling the sound of a firearm when discharged.
                                              25
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 27 of 37 PageID #: 354




     1927 R.I. Pub. Laws 256, An Act to Regulate the Possession of Firearms, §§1,3
     § 1. When used in this act the following words and phrases shall be construed as
     follows: “pistol” shall include any Pistol or revolver, and any shot gun, rifle or
     similar weapon with overall less than twenty-six inches, but shall not include any
     pistol without a magazine or any pistol or revolver designed for the use of blank
     cartridges only, “machine gun” shall include any weapon which shoots
     automatically and any weapon which shoots more than twelve shots semi-
     automatically without reloading. “Firearm shall include any machine gun or pistol.
     .. “Crime of violence” shall mean and include any of the following crimes or any
     attempt to commit any of the same, viz.: murder, manslaughter, rape, mayhem,
     assault or battery involving grave bodily injury, robbery, burglary, and breaking
     and entering, “sell” shall include let or hire, give, lend and transfer, and the word
     “purchase” shall include hire, accept and borrow, and the expression “purchasing”
     shall be construed accordingly.. .
     § 3. No person who has been convicted in this state or elsewhere of a crime of
     violence shall purchase own, carry or have in his possession or under his control
     any firearm.

     SOUTH CAROLINA:

     1934 S.C. Acts 1288, An Act regulating the use and possession of Machine Guns:
     §§ 1 to 6.
     § 1. “Machine gun” defined. - Be it enacted by the General Assembly of the State
     of South Carolina: For the purposes of this Act the word “machine gun” applies to
     and includes all firearms commonly known as machine rifles, machine guns and
     sub-machine guns of any caliber whatsoever, capable of automatically discharging
     more than eight cartridges successively without reloading, in which the
     ammunition is fed to such gun from or by means of clips, disks, belts or other
     separable mechanical device.
     § 2. Transportation of Machine Gun. - It shall be unlawful for any person or
     persons in any manner to transport from one place to another in this State, or from
     any railroad company, or express company, or other common carrier, or any
     officer, agent or employee of any of them, or any other person acting in their
     behalf knowingly to ship or to transport form one place to another in this State in
     any manner or by any means whatsoever, except as hereinafter provided, any
     firearm as described hereinabove or commonly known as a machine gun.
     § 3. Storing, Keeping, and/or Possessing Machine Gun. - It shall be unlawful for
     any person to store, keep, possess, or have in possession, or permit another to store,


                                              26
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 28 of 37 PageID #: 355




     keep, possess, or have in possession, except as hereinafter provided, any firearem
      of the type defined above or commonly known as a machine gun.
      § 4. Selling, Renting or Giving away Machine Gun. - It shall be unlawful for any
     person to sell, rent, or give away, or be interested directly or indirectly, in the sale,
     renting or giving away, or otherwise disposing of any firearm of the type above
     described or commonly known as a machine gun.
      § 5. Exceptions - Register Machine Guns. - The provisions of this Act shall not
     apply to the army, navy or marine corps of the United States, the National Guard,
     and organizations authorized by law to purchase or received machine guns from
     the United States, or from this State, and the members of such corps. National
     Guard and organizations while on duty or at drill, may possess, carry and transport
     machine guns, and, Provided, further, That any peace officer of the State, counties
     or political sub-division thereof. State Constable, member of the Highway patrol,
     railway policemen, warden, superintendents, headkeeper or deputy of any State
     prison, penitentiary, workhouse, county jail, city jail, or other institution for
     detention of persons convicted or accused of crime, or held as witnesses in
     criminal cases, or persons on duty in the postal service of the United States, or
     common carrier while transporting direct to any police department, military or
     naval organization, or persons authorized by law to possess or use a machine gun,
     may possess machine guns when required in the performance of their duties, nor
     shall the provisions of this Act be construed to apply to machine guns kept for
     display as relics and which are rendered harmless and not useable. Within thirty
     days after the passage of this Act every person permiteed by this Act to possess a
     machine gun or immediately after any person is elected to or appointed to any
     office or position which entitles such person to possess a machine gun, shall file on
     the office of the Secretary of State on a blank to be supplied by the Secretary of
     State on application therefor, an application to be properly sworn to, which shall be
     approved by the Sheriff of the county in which the applicant resides or has its
     principal place of business, which shall include the applicants name, residence and
     business address, description including sex, race, age weight, height, color of eyes,
     color of hair, whether or not ever charged or convicted of any crime, municipal,
     State or otherwise, and where, if so charged, and when same was disposed of. The
     applicant shall also give the description including the serial number and make the
     machine gun which he possesses or desires to possess. Thereupon the Secretary of
     State shall file such application in his office, registering such applicant togther with
     the information required in the application in a book or index to be kept for that
     purpose, and assign to him a number, an dissue to him a card which shall bear the
     signature of the applicant, and which he shall keep with him while he has such
     machine gun in his possession. Such registeration shall be made on the date


                                                27
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 29 of 37 PageID #: 356




     application is received and filed iwth the Secretary of State, and shall expire on
     December 31, of the year in which said license is issued.
     § 6. Penalty - Any person violating any of the provisions of this Act shall be guilty
     of a felony, and, on conviction thereof shall be sentenced to pay a fine not
     exceeding One Thousand Dollars, and undergo imprisonment by separate or
     solitary confinement at labor not exceeding twenty (20) years.

     SOUTH DAKOTA:

      1933 S.D. Sess. Laws 245-47, An Act Relating to Machine Guns, and to Make
     Uniform the Law with Reference Thereto, ch. 206, §§ 1-8.
      § 1. “machine gun” applies to and includes a weapon of any description by
     whatever name known, loaded or unloaded from which more than five shots or
     bullets may be rapidly or automatically, or semi-automatically discharged from a
     magazine, by a single function of the firing device. “Crime of Violence” apples to
     and includes any of the following crimes or an attempt to commit any of the same,
     namely, murder, manslaughter, kidnapping, rape, mayhem, assault to do great
     bodily harm, robbery, burglary, housebreaking, breaking and entering, and larceny.
     “Person” applied to and includes firm, partnership, association or corporation.
      § 2. Possession or use of a machine gun in the perpetration or attempted
     perpetration of a crime of violence is hereby declared to be a crime punishable by
     imprisonment in the state penitentiary for a term of not more than twenty years.
     § 3. Possession or use of a machine gun for offensive or aggressive purpose is
     hereby declared to be a crime punishable by imprisonment in the state penitentiary
     for a term of not more than fifteen years.
     § 4. Possession or use of a machine gun shall be presumed to be for offensive or
     aggressive purpose; (a) When the machine gun is on premises not owned or rented
     for bona fide permanent residence or business occupancy by the person in whose
     possession the machine gun may be found; or (b) when in the possession of, or
     used by, an unnaturalized foreign bom person, who has been convicted of a crime
     of violence in any court of record, state or federal of the United States of America,
     its territories or insular possessions; or (c) when the machine gun is of the kind
     described in §8 and has not been registered as in said section required; or (d) when
     empty or loaded pistol shells of 30 or larger caliber which have been or are
     susceptible or use in the machine gun are found in the immediate vicinity thereof.
     § 5. The presence of a machine gun in any room, boat, or vehicle shall be evidence
     of the possession or use of the machine gun by each person occupying the room,
     boat, or vehicle where the weapon is found.
     § 6. Exceptions. Nothing contained in this act shall prohibit or interfere with (1.)
     the manufacture for, and sale of, machine guns to the miltary forces or the peace
                                              28
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 30 of 37 PageID #: 357




     officers of the United States or of any political subdivision thereof, or the
     transportation required for that purpose; (2.) The possession of a machine gun for
     scientific purpose, or the possession of a machine gun not usable as a weapon and
     possessed as a curiosity, ornament, or keepsake; (3.) The possession of a machine
     gun other than one adapted to use pistol cartridges of 30 (.30 in. or 7.63 mm.) or
     larger caliber, for a purpose manifstly not aggresive or offensive.
     § 7. Every manufacturer shall keep a register of all machine guns manufactured or
     handled by him. This register shall show the model and serial number, date of
     manufacture, sale, loan, gift, delivery or receipt, of every machine gun, the name,
     address, and occupation of the person to whom the machine gun was sold, loaned,
     given or delivered, or from whom it was received and the purpose for which it was
     acquired by the person to whom the machine gun was sold, loaned given or
     delivered, or from whom received. Upon demand every manufacturer shall permit
     any marshal, sheriff or police officer to inspect his entire stock of machine guns,
     parts and supplies therefor, and shall produce the register, herein required, for
     inspection. A violation of any provisions of this section shall be punishable by a
     fine of not more than five hundred dollars, or by imprisonment in the county jail,
     nfor not exceeding six months or by both such fine and imprisonment.
     § 8. Every machine gun now in this state adapted to use pistol cartridges of 30 (.30
     in. or 7.63 mm.) or larger caliber shall be registered in the office of the Secretary of
     State, on the effective date of this act, and annually thereafter. If acquired hereafter
     it shall be registered within 24 hours after its acquisition. Blanks for registration
     shall be prepared by the Secretary of STate, and furnished upon application. To
     comply with this section the application as filed must show the model and serial
     number of the gun, the name, address and occupation of the person in possession,
     ande from whom and the purpose for which, the gun was acquired. The registration
     data shall not be subject to inspection by the public. Any person failing to register
     any gun as required by this section shall be presumed to possess the same for
     offensive and aggressive purpose.

     TEXAS:

     1933 Tex. Gen. Laws 219-20, 1st Called Sess., An Act Defining “Machine Gun”
     and “Person”; Making It an Offense to Possess or Use Machine Guns.. ., ch. 82,
     §§1-4,6
     § 1. Definition. “Machine gun” applies to and includes a weapon of any description
     by whatever name known, loaded or unloaded, from which more than five (5) shots
     or bullets may be automatically discharged from a magazine by a single
     functioning of the firing device. “Person” applies to and includes firm, partnership,
     association or corporation.
                                               29
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 31 of 37 PageID #: 358




     § 2. Whosoever shall possess or use a machine gun, as defined in Section 1, shall
     be guilty of a felony and upon conviction thereof, shall be confined in the State
     Penitentiary, for not less than two nor more than ten (10) years.
     § 3. Whoever shall sell, lease, give, barter, exchange, or trade, or cause to be sold,
     leased, given, bartered, exchanged, or traded, a machine gun as hereinabove
     defined to any person shall be guilty of a felony and upon conviction thereof, shall
     be confined to the State Penitentiary, for not less than two (2) nor more than (10)
     years.
     § 4. [Excludes military, police, unusable keepsakes, prison officers.]
     § 6. The fact that there are many gangsters purchasing machine guns in Texas,
     causing a menace to the citizenry of Texas, creates an emergency and imperative
     public necessity that the Constitutional Rule requiring bills to be read on three
     several days be suspended, and said Rule is hereby suspended, and this Act shall
     take effect and be in force from and after its passage, and it is so enacted.

     VERMONT:

     1923 Vt. Acts and Resolves 127, An Act to Prohibit the Use of Machine Guns and
     Automatic Rifles in Hunting, § 1.
     A person engaged in hunting for game who uses, carries, or has in his possession a
     machine gun of any kind or description, or an automatic rifle of military type with
     a magazine capacity of over six cartridges, shall be fined not more than five
     hundred dollars nor less than fifty dollars. The presence of such a firearm in a
     hunting camp shall be presumptive evidence that the possessor of such a firearm
     has violated the provisions of this section.

     VIRGINIA:

     1934 Va. Acts 137-39, An Act to define the term “machine gun”; to declare the use
     and possession of a machine gun for certain purposes a crime and to prescribe the
     punishment therefor, ch. 96, §§ 1-7.
     § 1. Where used in this act; (a) “Machine gun” applies to and includes a weapon of
     any description by whatever name known, loaded or unloaded, from which more
     than seven shots or bullets may be rapidly, or automatically, or semi-automatically
     discharged from a magazine, by a single function of the firing device, and also
     applies to and includes weapons, loaded or unloaded, from which more than
     sixteen shots or bullets maybe rapidly, automatically, semi-automatically or
     otherwise discharged without reloading, (b) “Crime of violence” applies to and
     includes any of the following crimes or an attempt to commit any of the same,
     namely, murder, manslaughter, kidnapping, rape,...
                                               30
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 32 of 37 PageID #: 359




     § 2. Possession or use of machine gun in the perpetration or attempted perpetration
     of a crime of violence is hereby declared to be a crime punishable by death or by
     imprisonment in the State penitentiary for a term not less than twenty years.
     § 3. Unlawful possession or use of a machine gun for offensive or aggressive
     purpose is hereby declared to be a crime punishable by imprisonment in the State
     penitentiary for a term of not less than ten years.
     § 4. Possession or use of a machine gun shall be presumed to be for offensive or
     aggressive purpose; (a) When the machine gun is on premises not owned or rented,
     for bona fide permanent residence or business occupancy, by the person in whose
     possession the machine gun may be found; or (b) When in the possession of, or
     used by, an unnaturalized foreign bom person, or a person who has been convicted
     of a crime of violence in any court of record, state or federal, of the United States
     of America, its territories or insular possessions; or (c) When the machine gun is of
     the kind described in section eight and has not been registered as in said section
     required; or (d) When empty or loaded pistol shells of thirty (thirty one-hundredths
     inch or seven and sixty-three one hundredths millimeter) or larger caliber which
     have been or are susceptible to use in the machine gun are found in the immediate
     vicinity thereof.
     § 5. The presence of a machine gun in any room, boat, or vehicle shall be prima
     facie evidence of the possession or use of the machine gun by each person
     occupying the room, boat, or vehicle where the weapon is found.
     § 6. (excludes military police etc.)
     § 7. Every manufacturer or dealer shall keep a register of all machine guns
     manufactured or handled by him. This register shall show the model and serial
     number, date of manufacture, sale, load, gift, delivery or receipt, of every machine
     gun, the name, address, and occupation of the person to whom the machine gun
     was sold, loaned, given or delivered, or from whom it was received; and the
     purpose for which it was acquired by the person to whom the machine gun was
     sold...

     WASHINGTON:

     1933 Wash. Sess. Laws 335-36, An Act Relating to Machine Guns, Regulating the
     Manufacture, Possession, Sale of Machine Guns and Parts, and Providing Penalty
     for the Violation Thereof, and Declaring an Emergency, ch. 64, §§ 1-5.
     § 1. That it shall be unlawful for any person to manufacture, own, buy, sell, loan,
     furnish, transport, or have in possession, or under control, any machine gun, or any
     part thereof capable of use or assembling or repairing any machine gun: provided,
     however, that such limitation shall not apply to any peace officer in the discharge


                                              31
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 33 of 37 PageID #: 360




     of official duty, or to any officer or member of the armed forces of the United
     States or the State of Washington.
     § 2. For the purpose of this act a machine gun is defined as any firearm or weapon
     known as a machine gun, mechanical rifle, submachine gun, and/or any other
     weapon, mechanism, or instrument not requiring that the trigger be pressed for
     each shot and having a reservoir clip, disc, drum belt, or other separable
     mechanical device for storing, carrying, or supplying ammunition which can be
     loaded into such weapon, mechanism, or instrument, and fired therefrom at the rate
     of five or more shots per second.
     § 3. Any person violating any of the provisions of this act shall be guilty of a
     felony.
     § 4. All machine guns, or parts thereof, illegally held or possessed are hereby
     declared to be contraband, and it shall be the duty of all peace officers, and/or any
     officer or member of the armed forces of the United States or the State of
     Washington to seize said machine gun, or parts thereof, wherever and whenever
     found.
     § 5. This act is necessary for the immediate preservation of public health and
     safety, and shall take effect immediately.

     WEST VIRGINIA;

      1925 W.Va. Acts 31-32, 1st Extraordinary Sess., An Act to Amend and Re-Enact
     Section Seven .. . Relating to Offenses Against the Peace ..., ch. 3, § 7, pt. b.
     It shall be unlawful for any person, firm or corporation to place or keep on public
     display to passersby on the streets, for rent or sale, any revolver, pistol, dirk, bowie
     knife, slung shot or other dangerous weapon of like kind or character or any
     machine gun, sub-machine gun or high powered rifle or any gun of similar kind or
     character, or any ammunition for the same. All dealers licensed to sell any of the
     forgoing arms or weapons shall take the name, address, age and general
     appearance of the purchaser, as well as the maker of the gun, manufacturer’s serial
     number and caliber, and report the same at once in writing to the superintendent of
     the department of public safety. It shall be unlawful for any person to sell, rent,
     give or lend any of the above mentioned arms to an unnaturalized person.

     1925 W.Va. Acts 30-31, 1st Extraordinary Sess., An Act to Amend and Re-Enact
     Section Seven ... Relating to Offenses Against the Peace; Providing for the
     Granting and Revoking of Licenses and Permits Respecting the Use,
     Transportation and Possession of Weapons and Fire Arms ..., ch. 3, § 7, pt. b.
     (b) It shall be unlawful for any person to carry, transport, or have in his possession
     any machine gun, sub-machine gun, and what is commonly known as a high
                                               32
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 34 of 37 PageID #: 361




     powered rifle, or any gun of a similar kind or character, or any ammunition
     therefor, except on his own premises or premises leased to him for a fixed term,
     until such person shall have first obtained a permit from the superintendent of the
     department of public safety of this state, and approved by the governor, or until a
     license therefore shall have been obtained from the circuit court as in the case of
     pistols and all such licenses together with the numbers identifying such rifle shall
     be certified to the superintendent of the department of public safety. Provided,
     further, that nothing herein shall prevent the use of rifles by bona fide rifle club
     members who are freeholders or tenants for a fixed term in this state at their usual
     or customary place of practice, or licensed hunters in the actual hunting of game
     animals. No such permit shall be granted by such superintendent except in cases of
     riot, public danger, and emergency, until such applicant shall have filed his written
     application with said superintendent of the department of public safety, in
     accordance with such rules and regulations as may from time to time be prescribed
     by such department of public safety relative thereto, which application shall be
     accompanied by a fee of two dollars to be used in defraying the expense of issuing
     such permit and said application shall contain the same provisions as are required
     to be shown under the provisions of this act by applicants for pistol licenses, and
     shall be duly verified by such applicant, and at least one other reputable citizen of
     this state. Any such permit as granted under the provisions of this act may be
     revoked by the governor at his pleasure upon the revocation of any such permit the
     department of public safety shall immediately seize and take possession of any
     such machine gun, sub-machine gun, high powered rifle, or gun of similar kind and
     character, held by reason of said permit, and any and all ammunition therefor, and
     the said department of public safety shall also confiscate any such machine gun,
     sub-machine gun and what is commonly known as a high powered rifle, or any gun
     of similar kind and character and any and all ammunition therefor so owned,
     carried, transported or possessed contrary to the provisions of this act, and shall
     safely store and keep the same, subject to the order of the governor.

     WISCONSIN:

     1928-1929 Wis. Sess. Laws 157, An Act to Create . . . the Statutes, Relating to
     Machine Guns and Providing a Penalty, ch. 132, § 1.
     Any person who shall own, use or have in his possession a machine gun shall be
     punished by imprisonment in the state prison for a term the minimum of which
     shall be one year and the maximum fifteen years. Nothing in this section shall be
     construed as prohibiting police officers, national guardsmen, sheriffs and their
     deputies from owning, using or having in their possession a machine gun while
     actually engaged in the performance of their lawful duties; nor shall any person or
                                              33
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 35 of 37 PageID #: 362




     organization be prohibited form possessing any machine gun received from the
     government as a war trophy.

      1931-1933 Wis. Sess. Laws 245-47, An Act. . .Relating to Machine Guns and to
     Make Uniform the Law with Reference Thereto, ch. 76, § 1, pt. 164.01 to 164.06.
      164.01 Definitions (a) “Machine gun” applies to and includes a weapon of any
     description by whatever name known from which more than two shots or bullets
     may be discharged by a single function of the firing device. ..
      164.02 Use of Machine Gun is a Separate Crime. Possession or use of a machine
     gun in the perpetration or attempted perpetration of a crime of violence is hereby
     declared to be a crime punishable by imprisonment in the state penitentiary for a
     term of not less than twenty years.
      164.03 Possession for Aggressive Purpose. Possession or use of a machine gun for
     offensive or aggressive purpose is hereby declared to be a crime punishable by
     imprisonment in the state penitentiary for a term not less than ten years.
      164.04 Possession when Presumed For Aggressive Purpose. Possession or use of a
     machine gun shall be presumed to be for offensive or aggressive purpose; (1) when
     the machine gun is on premises not owned or rented, for a bona fide permanent
     residence or business occupancy, by the person in whose possession the machine
     gun may be found; or (2) when in the possession of, or used by, an unnaturalized
     foreign-born person, or a person who has been convicted of a crime of violence in
     any court of record, state or federal, of the United States of America, its territories
     or insular possessions; or (3) When the machine gun is of the kind described in
     section 164.08 and has not been registered as in said section required; or (4) When
     empty or loaded pistol shells of 30 (.30 in. or 7.63 mm.) or larger caliber which
     have been used or are susceptible of use in the machine gun are found in the
     immediate vicinity thereof.
     164.05 Presumptions from Presence of Gun. The presence of a machine gun in any
     room, boat, or vehicle shall be evidence of the possession or use of the machine
     gun by each person occupying the room, boat, or vehicle shall be evidence of the
     possession or use of the machine gun by each person occupying the room, boat, or
     vehicle where the weapon is found.
     164.06 Exceptions. Nothing contained in this chapter shall prohibit or interfere
     with the manufacture for, and sale of, machine guns to the military forces or the
     peace officers of the United States or of any political subdivision thereof, or the
     transportation required for that purpose; the possession of a machine gun for
     scientific purpose, or the possession of a machine gun not usable as a weapon and
     possessed as a curiosity, ornament, or keepsake; the possession of a machine gun
     other than one adapted to use pistol cartridges of 30 (.30 in. or 7.63 mm.) or larger


                                               34
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 36 of 37 PageID #: 363




     caliber, for a purpose manifestly not aggressive or offensive... [manufacturers and
     owners required to register].

     1931-1933 Wis. Sess. Laws 778, An Act. .. Relating to the Sale, Possession,
     Transportation and Use of Machine Guns and Other Weapons in Certain Cases,
     and Providing a Penalty, ch. 359, § 1.
     No person shall sell, possess, use or transport any machine gun or other full
     automatic firearm, nor shall any person sell, possess, use or transport any bomb,
     hand grenade, projectile, shell or other container of any kind or character into
     which tear gas or any similar substance is used or placed for use to cause bodily
     discomfort, panic, or damage to property. (2) Any person violating any of the
     provisions of this section shall be punished by imprisonment in the state prison for
     a term of not less than one year nor more than three years. (3) [doesn’t apply to
     police, military etc.].

     WYOMING:

     1933 Wyo. Sess. Laws 117, An Act Relating to the Registering and Recording of
     Certain Facts Concerning the Possession and Sale of Firearms by all Wholesalers,
     Retailers, Pawn Brokers, Dealers and Purchasers, Providing for the Inspection of
     Such Register, Making the Violation of the Provisions Hereof a Misdemeanor, and
     Providing a Penalty Therefor, ch. 101, §§ 1-4.
     § 1. All wholesalers, retailers, dealers and pawn brokers are hereby required to
     keep a record of all firearms which may come into their possession, whether new
     or second hand, which record shall be known as the Firearms Register. Such
     register shall contain the following information, to wit: the name of the
     manufacturer, person, persons, firm or corporation from whom the firearm was
     obtained, the date of its acquisition, its manufacturer’s number, its color, its
     caliber, whether the same is new or second hand, whether it is automatic, a
     revolver, a single shot pistol, a rifle, a shot gun or a machine gun, the name of the
     party to whom said firearm is sold in such purchasers handwriting and the date of
     such sale.
     § 2. Every person who purchases any firearm from any retailer, pawn broker or
     dealer, shall sign his name or make his mark properly witnessed, if he cannot write,
     on said Firearm Register, at the time of the delivery to him of any firearm so
     purchased.
     § 3. The firearm register, herein required to be kept, shall be prepared by every
     wholesaler, retailer, pawn broker and dealer in firearms in the state of Wyoming
     within 30 days after this Act shall become effective and shall thereafter be
     continued as herein provided. It shall be kept at the place of business of said
                                              35
Case 2:23-cv-01130-GRB-ARL Document 21-8 Filed 04/21/23 Page 37 of 37 PageID #: 364




     wholesaler, retailer, pawn broker or dealer, and shall be subject to inspection by
     any peace officer at all reasonable times.
     § 4. Any person, firm or corporation who shall fail or refuse to comply with the
     provisions of this Act shall be deemed guilty of a misdemeanor and upon
     conviction thereof shall be fined in a sum not to exceed $100.00, or imprisoned in
     the County Jail for a period of not to exceed six months, or by both such fine and
     imprisonment.

     SOURCE: https://firearmslaw.duke.edu/repositorv/search-the-repositorv/




                                             36
